  Case 18-32498       Doc 18    Filed 10/03/18 Entered 10/03/18 14:41:13            Desc Main
                                 Document     Page 1 of 43



                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In Re:                                            CHAPTER 7 CASE
                                                  CASE NO. 18-32498
Brian F. Carlisle
Angelique Carlisle                                NOTICE OF HEARING AND MOTION FOR
                                                  RELIEF FROM STAY CH 7
                  Debtor(s).
___________________________________

TO: Debtors and other entities specified in Local Rule 9013-3(a).

         1.    Deutsche Bank National Trust Company, as Trustee for BCAP Trust LLC

2007-AA1 Mortgage Pass-Through Certificates Series 2007-AA1, (hereinafter "Movant"), by

Nationstar Mortgage LLC d/b/a Mr. Cooper its servicing agent, by its undersigned attorney

moves the Court for the relief requested below and gives notice of hearing herewith.

         2.    The Court will hold a hearing on this motion on Wednesday October 24, 2018, at

1:30 pm, or as soon thereafter as counsel can be heard, before the Honorable Judge Katherine A

Constantine in Courtroom 2C of the above entitled Court located at 316 Robert St N, Saint Paul

MN, 55101-1241.

         3.    Any response to this motion must be filed and served not later than Friday

October 19, 2018, which is five days before the time set for the hearing (including Saturdays,

Sundays and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY

FILED, THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.

         4.    This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334, Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1. This proceeding is a

core proceeding. The petition commencing this case was filed on August 07, 2018. The case is

now pending in this Court.
  Case 18-32498       Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13             Desc Main
                                  Document     Page 2 of 43


       5.      This motion arises under 11 U.S.C. § 362 and Federal Rule of Bankruptcy

Procedure 4001. This motion is filed under Federal Rule of Bankruptcy Procedure 9014 and

Local Rules 9013-1 - 9019-1. Movant requests relief from the automatic stay with respect to

property subject to a lien. Movant requests said relief be effective immediately notwithstanding

Federal Rule of Bankruptcy Procedure 4001(a)(3).

       6.      Debtors are indebted to Movant in the original principal amount of $1,400,000.00,

as evidenced by that certain Promissory Note dated January 04, 2007, a copy of which is

attached hereto as Exhibit "A", together with interest thereon.

       7.      Debtors’ indebtedness is secured by a mortgage on real estate in which Debtor has

an interest as evidenced by that certain mortgage deed dated January 04, 2007, executed by Brian

F Carlisle and Angelique Carlisle, husband and wife as joint tenants, filed for record in the office

of the County Recorder on February 09, 2007, as Document Number A764325, Scott County,

State of Minnesota, a copy of which is attached hereto as Exhibit "B". The name and address of

the original creditor is contained in the attached Exhibit "B". Said mortgage was assigned to

Deutsche Bank National Trust Company, as Trustee for BCAP Trust LLC 2007-AA1 Mortgage

Pass-Through Certificates Series 2007-AA1 an Assignment of Mortgage dated September 25,

2018 and recorded on October 1, 2018 as Document Number A1054847. A copy of the

aforesaid Assignment is attached hereto as Exhibit "C". The property is located in Scott

County, Minnesota and is legally described as follows to wit:

       Lot 2, Block 3, Century Hills, according to the plat thereof on file and of record in the
       Office of the County Recorder, Scott County, Minnesota
       and commonly known as 6860 Century Ln Prior Lake, MN 55372


Movant is now the holder of said mortgage and is entitled to enforce the terms thereof.

       8.      At all times material, Debtor was in default of the payments and performance of
  Case 18-32498        Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13             Desc Main
                                   Document     Page 3 of 43


obligations to Movant.

       9.      Pursuant to 11 U.S.C. § 362(g) the burden is on Debtors to prove absence of cause

and/or adequate protection. This Movant's interest in the property is not adequately protected

where, as of September 20, 2018, Debtors are delinquent for monthly payments as required for

the months of August 01, 2018 to September 01, 2018 in the amount of $6,995.23 per month;

and attorney's fees and costs. Debtors have failed to make any offer of adequate protection.

The Local 4001-1 Form is attached hereto as Exhibit “D”.

       10.     Debtors have no equity in the property and the property is not necessary to an

effective reorganization. The current tax-assessed value is $1,203,900.00 subject to Movant's

mortgage in excess of $1,089,574.33. The property is also subject to a Junior Federal Tax Lien

in favor of INTERNAL REVENUE SERVICE in excess of $519,000.00. The property is also

subject to a Junior Mortgage in favor of PNC Bank in excess of $179,000.00. A copy of

Debtors’ Schedule D and the 2018 Tax Statement are attached here to as Exhibit “E” and Exhibit

“F” respectively.

       11.     Movant desires to protect its interest in the aforementioned property and requests

the Court to vacate the stay of actions and allow foreclosure pursuant to Minnesota law.

       12.     Movant has incurred and will incur legal fees and costs to protect and enforce its

rights in the subject property.

13.    Nationstar Mortgage LLC d/b/a Mr. Cooper services the loan on the property referenced

in this proof of claim. In the event the automatic stay in this case is modified, this case dismisses,

and/or the debtor obtains a discharge and a foreclosure action is commenced on the mortgaged

property, the foreclosure will be conducted in the name of Deutsche Bank National Trust

Company, as Trustee for BCAP Trust LLC 2007-AA1 Mortgage Pass-Through Certificates
  Case 18-32498       Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13            Desc Main
                                  Document     Page 4 of 43


Series 2007-AA1, "Noteholder". Noteholder directly or through an agent, has possession of the

promissory note. The promissory note is either made payable to Noteholder or has been duly

endorsed. Noteholder is the original mortgagee, or beneficiary, or the assignee of the security

instrument for the referenced loan.

       WHEREFORE, Movant, by its undersigned attorney, moves the Court for an order for

judgment that the automatic stay provided by 11 U.S.C. § 362(a) be terminated so to permit the

Movant to commence mortgage foreclosure proceedings under Minnesota law and for such other

relief as may be just and equitable.



Dated: October 3, 2018
                                                 WILFORD, GESKE & COOK P.A.



                                                 ____/e/ Orin J. Kipp_______________
                                                 Orin J. Kipp, #0390438
                                                 Attorneys for Movant
                                                 7616 Currell Blvd; Ste 200
                                                 Woodbury, MN 55125-2296
                                                 (651) 209-3300
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 5 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 6 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 7 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 8 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 9 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 10 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 11 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 12 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 13 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 14 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 15 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 16 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 17 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 18 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 19 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 20 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 21 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 22 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 23 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 24 of 43




                    EXHIBIT C
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 25 of 43
                               Case 18-32498          Doc 18       Filed 10/03/18 Entered 10/03/18 14:41:13                       Desc Main
                                                                    Document     Page 26 of 43

Loan History. Begin loan history from the date of the first default related to the current default amount that is claimed in the motion
              Amount Rec'd        Monthly Amount Due  Monthly Amount  Amount Due  Amount Due 
Date          From Debtor(s)      Principal/Interest         Due Escrow            Late Fees      Other Charge*      Description of Other Charge

   8/1/2018                                     $6,955.23 
   9/1/2018                                     $6,955.23 




TOTALS                      $0.00              $13,910.46                     $0.00          $0.00            $0.00 
                      (a)                   (b)                      (  c )            (d)              (e)

* Any "Other Charge" must be described, itemized by amount and allowed under note and/or mortgage (e.g., inspection fee, appraisal fee, 
insurance, taxes, etc.)
NOTE: Columns (b) + (c)+ (d)+(e) ‐(a) must equal the current amount that is claimed in the motion


Attorneys fees  and filing fee for the motion, if allowed under note and/or mortgage and                $1,031.00 

Current Default Amount Claimed in the Motion                                                           $13,910.46 

Escrow Balance (amount held for payment of taxes, insurance, etc)                                             $0.00 

Suspense Account Balance (amount of unapplied payments)                                                       $0.00 


                                     SCHEDULE D
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                                                          27 of 39
                                                                43
 Fill in this information to identify your case:

 Debtor 1                   BRIAN F CARLISLE
                            First Name                      Middle Name                     Last Name

 Debtor 2                   ANGELIQUE CARLISLE
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MINNESOTA

 Case number           18-32498
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Frandsen Bank                            Describe the property that secures the claim:                   $6,000.00              $90,000.00                     $0.00
         Creditor's Name                          Third mortgage on homestead: Lot
                                                  1
                                                  As of the date you file, the claim is: Check all that
         P O Box 459                              apply.
         Lakeville, MN 55044                       Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number


         INTERNAL REVENUE
 2.2                                              Describe the property that secures the claim:               $519,000.00                $90,000.00         $435,000.00
         SERVICE
         Creditor's Name                          Tax lien on homestead: Lots 1 and 2
         CENTRALIZED
         INSOLVENCY
                                                  As of the date you file, the claim is: Check all that
         P O BOX 7346                             apply.
         Philadelphia, PA 19101                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          2007                      Last 4 digits of account number


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                                                            EXHIBIT E
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                                                             43
 Debtor 1 BRIAN F CARLISLE                                                                                 Case number (if know)   18-32498
              First Name                  Middle Name                     Last Name
 Debtor 2 ANGELIQUE CARLISLE
              First Name                  Middle Name                     Last Name




 2.3    Mr. Cooper                                 Describe the property that secures the claim:              $1,079,000.00        $1,300,000.00                $0.00
        Creditor's Name                            First mortgage on homestead: Lot 2

                                                   As of the date you file, the claim is: Check all that
        P O Box 650783                             apply.
        Dallas, TX 75265                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number


 2.4    PNC Bank                                   Describe the property that secures the claim:                $179,000.00        $1,300,000.00                $0.00
        Creditor's Name                            Second mortgage on homestead:
                                                   Lot 2
                                                   As of the date you file, the claim is: Check all that
        P O Box 1397                               apply.
        Pittsburgh, PA 15230                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                             $1,783,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $1,783,000.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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                                                                                                                                                               Estimated Market Value:               1,103,100                  1,203,900
                       Bill #: 731185
                       Property ID#: 040840060                                                                                                                 Homestead Exclusion:                          0                          0
                       Owner Name: CARLISLE BRIAN F & ANGELIQUE
                                                                                                                                                  6WHS         Taxable Market Value:                 1,103,100                  1,203,900
                                                                                                                                                               New Improvements:                             0                          0

                                                                                                                                                    
                       Taxpayer:                                                                                                                               Expired Exclusions:                           0                          0
                                        18023*72**G50**1.062**2/2*********AUTO5-DIGIT 55328                                                                    Property Classification:
                                        BRIAN F & ANGELIQUE CARLISLE                                                                                                                                Res Non-Hstd              Res Non-Hstd
                                        6860 CENTURY LN
                                        PRIOR LAKE MN 55372-5105
                                                                                                                                                                                         Sent in March 2017
                                                                                                                                                                                   352326('7$;127,&(
                                                                                                                                                  6WHS

                                                                                                                                                              Did not include special assessments
                                                                                                                                                                                      Sent in November 2017
                                                                                                                                                                                                                            $13,940.00

                                                                                                                                                                            3523(57<7$;67$7(0(17
                                                                                                                                                  6WHS         First Half Taxes      Due 05/15/2018  $7,840.00

                                                                                                                                                              Second Half Taxes     Due 10/15/2018
                                                                                                                                                               Total Taxes Due in 2018:
                                                                                                                                                                                                     $7,840.00
                                                                                                                                                                                                    $15,680.00
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                       Property Address:                                                                       A. Agricultural and Rural Land Credits                  $0.00                                                      $0.00
                       6860 CENTURY LN                                                                         B. Other Credits                                        $0.00                                                      $0.00
                       PRIOR LAKE MN 55372
                       Property Description:                                                             3URSHUW\WD[HVDIWHUFUHGLWV                                                           $13,723.00              $15,257.80
                       SubdivisionName CENTURY HILLS Lot 002                                             &RXQW\                                                                                $4,501.54               $4,844.49
                       Block 003 SubdivisionCd 04084                                                  
                       Section 31 Township 114 Range 021
                                                                       3URSHUW\7D[E\-XULVGLFWLRQ




                                                                                                        &LW\RU7RZQ       TOWN OF CREDIT RIVER                                                 $1,757.60               $2,051.05
                       Line 13 Special Assessment Detail:                                               6WDWH*HQHUDO7D[                                                                            $0.00                   $0.00
                       STREET IMPROVEMENT PROJECT 411.20
                                                                                                        6FKRRO'LVWULFW     ISD 0194 LAKEVILLE
                         2017
                       HHW FEE                            11.00                                                                      A. Voter Approved Levies                                       $4,763.71               $5,227.98
                                                                                                                                     B. Other Local Levies                                          $2,169.77               $2,555.26
                                                                                                       6SHFLDO7D[LQJ'LVWULFWV   A. Met Council                                                  $106.62                 $117.75
                                                                                                                                      B. Mosquito Control                                              $56.27                  $62.21
                                                                                                                                      C. Scott County CDA                                             $205.51                 $223.10
                                                                                                                                      D. Scott County WMO                                             $161.98                 $175.96



EXHIBIT F                                                                                             
                                                                                                       1RQVFKRROYRWHUDSSURYHGUHIHUHQGDOHYLHV                                                   $0.00                   $0.00
                                                                                                       7RWDOSURSHUW\WD[EHIRUHVSHFLDODVVHVVPHQWV                                           $13,723.00              $15,257.80
                                                                                                       6SHFLDODVVHVVPHQWV        Principal: 287.00 Interest: 135.20                                $11.00                $422.20
                                                                                                                                                                                                 $13,734.00              $15,680.00

                       1-22-18_V3                                                                      <285727$/3523(57<7$;$1'63(&,$/$66(660(176

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                                                                                                                                                    Bill #: 731185


                                                                                                                                  7D[SD\HU         BRIAN F & ANGELIQUE CARLISLE
                                                                                                                                                    6860 CENTURY LN
                                                                                                                                                    PRIOR LAKE MN 55372
                          0         4    0    8    4     0    0    6                          0

                          SECOND 1/2 TAX AMOUNT DUE:                                                                      $7,840.00
                                                                                                                                           0$.(&+(&.63$<$%/(726&277&2817<
                                                                                                                                           If your address has changed                   $WWQ&XVWRPHU6HUYLFH'HSW
                                                                                                                                           please check this box and show                7+$9(:
                          0408400600 2018 2 00000000784000 8                                                                               the change on the back of this stub.          6+$.23((01
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     Case 18-32498    Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13            Desc Main
                                  Document     Page 30 of 43



                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In Re:                                            CHAPTER 7 CASE
                                                  CASE NO. 18-32498
Brian F. Carlisle
Angelique Carlisle                                MEMORANDUM IN SUPPORT OF
                                                  MOTION FOR RELIEF FROM STAY CH 7
                  Debtors.
___________________________________

                                          ARGUMENT

I.       CAUSE EXISTS FOR THE GRANTING OF RELIEF FROM THE AUTOMATIC
         STAY PURSUANT TO 11 U.S.C. § 362(d)(1) WHERE THE INTEREST OF THIS
         MOVANT IS NOT ADEQUATELY PROTECTED.

               Pursuant to 11 U.S.C. § 362(g) the burden is on Debtors to prove absence of cause

and/or adequate protection. Movant's interest in the property is not adequately protected where:

         1.    As of September 20, 2018, Debtor is delinquent for monthly payments as required

for the months of August 01, 2018 to September 01, 2018 in the amount of $6,995.23 per month;

and attorney's fees and costs.

         2.    Debtors have failed to make any offer of adequate protection.

         Furthermore, Debtors have failed to meet its contractual obligations to make payments

as they become due after the filing of the bankruptcy petition, which failure constitutes "cause"

entitling the Movant to relief from the automatic stay under 11 U.S.C. § 362(d)(1). A continued

failure by Debtors to maintain regular payments to Movant is sufficient cause to entitle Movant

to relief from the automatic stay. See In re Taylor, 151 B.R. 646 (E.D.N.Y., 1993) and In re

Davis, 64 B.R. 358 (Bkrtcy. S.D.N.Y., 1986).


II.      THE AUTOMATIC STAY SHOULD BE MODIFIED PURSUANT TO 11 U.S.C. §
         362(d)(2) WHERE (1) DEBTORS DO NOT HAVE ANY EQUITY IN THE
         PROPERTY, AND (2) THE PROPERTY IS NOT NECESSARY TO AN EFFECTIVE
  Case 18-32498       Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13             Desc Main
                                  Document     Page 31 of 43


       REORGANIZATION.

       The first requirement under § 362(d)(2) is met where the total of all the encumbrances

against the property is in excess of the value of the property. The current tax-assessed value is

$1,203,900.00 subject to Movant's mortgage in excess of $1,089,574.33. The property is also

subject to a Junior Federal Tax Lien in favor of INTERNAL REVENUE SERVICE in excess of

$519,000.00. The property is also subject to a Junior Mortgage in favor of PNC Bank in excess

of $179,000.00. Where there exists no equity in the property that is the subject of a motion for

relief from stay, it is incumbent upon a debtor to make a showing that the property is necessary

to an effective reorganization in order to successfully defend against the motion. In re Embassy

Enterprises of St. Cloud, 125 B.R. 552, 554 (Bankr. D. Minn. 1991). It is axiomatic that any

secured property as to which a debtor has filed a written statement of intention to surrender is not

necessary to an effective reorganization. Moreover, a Chapter 7 bankruptcy is a liquidating

case. "[T]herefore, by definition, the property is not necessary for an effective reorganization,

which satisfies § 362(d)(2)(B)." In re Martens, 331 B.R. 395, 398 (8th Cir. BAP 2005).


                                         CONCLUSION

       Movant is entitled to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1) for

cause, and where its interest in the secured property is not adequately protected. Movant is also

entitled to relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(2) where Debtors have

no equity in the property, and where the property is not necessary to an effective reorganization.

        Movant respectfully requests an order of this Court modifying the automatic stay
  Case 18-32498      Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13      Desc Main
                                 Document     Page 32 of 43


consistent with the attached proposed Order.



Dated: October 3, 2018
                                               WILFORD, GESKE & COOK P.A.



                                               ___/e/ Orin J. Kipp________________
                                               Orin J. Kipp, #0390438
                                               Attorneys for Movant
                                               7616 Currell Blvd; Ste 200
                                               Woodbury, MN 55125-2296
                                               (651) 209-3300
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 33 of 43
Case 18-32498   Doc 18   Filed 10/03/18 Entered 10/03/18 14:41:13   Desc Main
                          Document     Page 34 of 43
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        Case 18-32498        Doc 18      Filed 10/03/18 Entered 10/03/18 14:41:13 Desc Main
                                          Document     Page 35 of 43            After Recording Return To:
                                                                                             Nationstar Mortgage LLC
                                                                                             ATIN: POA's
                                                                                             2617 College Park Drive
                                                                                             Scottsbluff, NE 69361




                                       LIMITED POWER OF ATTORNEY


     KNOW ALL MEN BY THESE PRESENTS, that Deutsche Bank National Trust Company, a national
     banking association organized and existing under the laws of the United States, and having its usual place
     of business at 1761 East St. Andrew Place, Santa Ana, California, 92705, as Trustee (the "Trustee")
     pursuant to the Trust Agreements (the "Agreements") for the trusts listed on Exhibit A, hereby
     constitutes and appoints Nationstar Mortgage LLC, as Servicer under the Agreements, successor to Bank
     of America, National Association, as Servicer (the "Servicer"), by and through the Servicer's officers,
     the Trustee's true and lawful Attorney-in-Fact, in the Trustee's name, place and stead and for the
     Trustee's benefit, in connection with all mortgage loans serviced by the Servicer pursuant to the
     Agreements solely for the purpose of performing such acts and executing such documents in the name of
     the Trustee necessary and appropriate to effectuate the following enumerated transactions in respect of
     any of the mortgages or deeds of trust (the "Mortgages" and the "Deeds of Trust" respectively) and
     promissory notes secured thereby (the "Mortgage Notes") for which the undersigned is acting as Trustee
     for various certificateholders (whether the undersigned is named therein as mortgagee or beneficiary or
     has become mortgagee by virtue of endorsement of the Mortgage Note secured by any such Mortgage or
     Deed of Trust) and for which Nationstar Mortgage LLC, as Servicer under the Agreements, successor to
     Bank of America, National Association is acting as the Servicer.

     Th is Appointment shall apply only to the following enumerated transactions and nothing herein or in the
     Agreements shall be construed to the contrary:

             I.      The modification or re-recording of a Mortgage or Deed of Trust, where said
                     modification or re-recording is solely for the purpose of correcting the Mortgage or Deed
                     of Trust to conform same to the original intent of the parties thereto or to correct title
                     errors discovered after such title insurance was issued; provided that (i) said
                     modification or re-recording, in either instance, does not adversely affect the lien of the
                     Mortgage or Deed of Trust as insured and (ii) otherwise conforms to the provisions of
                     the Agreements.

             2.      The subordination of the lien of a Mortgage or Deed of Trust to an easement in favor of a
                     public utility company of a government agency or unit with powers of eminent domain;
                     this section shall include, without limitation, the execution of partial
                     satisfactions/releases, partial reconveyances or the execution or requests to trustees to
                     accomplish same.

             3.      The conveyance of the properties to the mortgage insurer, or the closing of the title to the
                     property to be acquired as real estate owned, or conveyance of title to real estate owned.

             4.      The completion of loan assumption agreements.

             5.      The full satisfaction/release of a Mortgage or Deed of Trust or full conveyance upon
                     payment and discharge of all sums secured thereby, including, without limitation,
                     cancellation of the related Mortgage Note.
Case 18-32498    Doc 18      Filed 10/03/18 Entered 10/03/18 14:41:13                  Desc Main
                              Document     Page 36 of 43



   6.    The assignment of any Mortgage or Deed of Trust and the related Mortgage Note, in
         connection with the repurchase of the mortgage loan secured and evidenced thereby.

   7.    The full assignment of a Mortgage or Deed ofTrust upon payment and discharge of all
         sums secured thereby in conjunction with the refinancing thereof, including, without
         limitation, the assignment of the related Mortgage Note.

   8.    The full enforcement of and preservation of the Trustee's interests in the Mortgage
         Notes, Mortgages or Deeds ofTrust, and in the proceeds thereof, by way of, including
         but not limited to, foreclosure, the taking of a deed in lieu of foreclosure, or the
         completion of judicial or non-judicial foreclosure or the termination, cancellation or
         rescission of any such foreclosure, the initiation, prosecution and completion of eviction
         actions or proceedings with respect to, or the termination, cancellation or rescission of
         any such eviction actions or proceedings, and the pursuit of title insurance, hazard
         insurance and claims in bankruptcy proceedings, including, without limitation, any and
         all of the following acts:

         a.      the substitution oftrustee(s) serving under a Deed of Trust, in accordance with
                 state law and the Deed of Trust;

         b.      the preparation and issuance of statements of breach or non-performance;

         c.      the preparation and filing of notices of default and/or notices of sale;

         d.      the cancellation/rescission of notices of default and/or notices of sale;

         e.      the taking of deed in lieu of foreclosure;

         f.      the filing, prosecution and defense of claims, and to appear on behalf of the
                 Trustee, in bankruptcy cases affecting Mortgage Notes, Mortgages or Deeds of
                 Trust;

         g.      the preparation and service of notices to quit and all other documents necessary
                 to initiate, prosecute and complete eviction actions or proceedings;

         h.      the tendering, filing, prosecution and defense, as applicable, of hazard insurance
                 and title insurance claims, including but not limited to appearing on behalf of the
                 Trustee in quiet title actions; and

         1.      the preparation and execution of such other documents and performance of such
                 other actions as may be necessary under the terms of the Mortgage, Deed of
                 Trust or state law to expeditiously complete said transactions in paragraphs 8.a.
                 through 8.h. above.

   9.    With respect to the sale of property acquired through a foreclosure or deed-in lieu of
         foreclosure, including, without limitation, the execution of the following documentation:
         a.      listing agreements;
         b.      purchase and sale agreements;



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 r
        Case 18-32498          Doc 18      Filed 10/03/18 Entered 10/03/18 14:41:13                 Desc Main
r.                                          Document     Page 37 of 43


                      c.      grant/warranty/quit claim deeds or any other deed causing the transfer of title of
                              the property to a party contracted to purchase same;
                      d.      escrow instructions; and
                      e.      any and all documents necessary to effect the transfer of property.

             I 0.     The modification or amendment of escrow agreements established for repairs to the
                      mortgaged property or reserves for replacement of personal property.

     The undersigned gives said Attorney-in-Fact full power and authority to execute such instruments and to
     do and perform all and every act and thing necessary and proper to carry into effect the power or powers
     granted by or under this Limited Power of Attorney as fully as the undersigned might or could do, and
     hereby does ratify and confirm to all that said Attorney-in-Fact shall be effective as of February 11th,
     2014.

     This appointment is to be construed and interpreted as a limited power of attorney. The enumeration of
     specific items, rights, acts or powers herein is not intended to, nor does it give rise to, and it is not to be
     construed as a general power of attorney.

     Solely to the extent that the Servicer has the power to delegate its rights or obligations under the
     Agreements, the Servicer also has the power to delegate the authority given to it by Deutsche Bank
     National Trust Company, as Trustee, under this Limited Power of Attorney, for purposes of performing
     its obligations and duties by executing such additional powers of attorney in favor of its attorneys-in-fact
     as are necessary for such purpose. The Servicer's attorneys-in-fact shall have no greater authority than
     that held by the Servicer.

     Nothing contained herein shall: (i) limit in any manner any indemnification provided to the Trustee under
     the Agreements, (ii) limit in any manner the rights and protections afforded the Trustee under the
     Agreements, or (iii) be construed to grant the Servicer the power to initiate or defend any suit, litigation
     or proceeding in the name of Deutsche Bank National Trust Company except as specifically provided for
     herein. If the Servicer receives any notice of suit, litigation or proceeding in the name of Deutsche Bank
     National Trust Company, then the Servicer shall promptly forward a copy of same to the Trustee.

     This limited power of attorney is not intended to extend the powers granted to the Servicer under the
     Agreements or to allow the Servicer to take any action with respect to Mortgages, Deeds of Trust or
     Mortgage Notes not authorized by the Agreements.

     The Servicer hereby agrees to indemnify and hold the Trustee and its directors, officers, employees and
     agents harmless from and against any and all liabilities, obligations, losses, damages, penalties, actions,
     judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever incurred by reason
     or result of or in connection with the exercise by the Servicer, or its attorneys-in-fact, of the powers
     granted to it hereunder. The foregoing indemnity shall survive the termination of this Limited Power of
     Attorney and the Agreements or the earlier resignation or removal of the Trustee under the Agreements.

     This Limited Power of Attorney is entered into and shall be governed by the laws of the State of New
     York, without regard to conflicts of law principles of such state.

     Third parties without actual notice may rely upon the exercise of the power granted under this Limited
     Power of Attorney; and may be satisfied that this Limited Power of Attorney shall continue in full force
     and effect and has not been revoked unless an instrument of revocation has been made in writing by the
     undersigned.


                                                            3
   Case 18-32498         Doc 18      Filed 10/03/18 Entered 10/03/18 14:41:13              Desc Main
                                      Document     Page 38 of 43



IN WITNESS WHEREOF, Deutsche Bank National Trust Company, as Trustee for the Agreements
listed on Exhibit A has caused its corporate seal to be hereto affixed and these presents to be signed and
acknowledged in its name and behalf by a duly elected and authorized signatory this 11th day February,
2014.


                                Deutsche Bank National Trust Company,
                                as Trustee

                                                         I    .
                                By:_ _ _ _ _ _--=£,.-....
                                                        '--~-------
                                      Name: Cindy Lai
                                      Title: Assistant Vice President

Witness: lenny Pilapil



Witnes& Quach
         ~
Prepared by:

     <;. 0...9u&G
Name: Amy McNulty
Title: Associate
Address:      Deutsche Bank National Trust Company
               1761 E. Saint Andrew Place
               Santa Ana, CA 92705

State of California}
County of Orange}

On February 11th, 2014, before me, Melissa D. Vincent, Notary Public, personally appeared Cindy Lai,
who proved to me on the basis of satisfactory evidence to be the person whose name is subscribed to the
within instrument and acknowledged to me that she executed the same in her authorized capacity and that
by her signature on the instrument the person, or the entity upon behalf of which the person acted,
executed the instrument.

I certify under PENALTY OF PERJURY under the Jaws of the State of California that the foregoing
paragraph is true and correct.

Witness my hand and official seal.




Notary signature



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  Case 18-32498     Doc 18         Filed 10/03/18 Entered 10/03/18 14:41:13         Desc Main
                                    Document     Page 39 of 43



NATIONSTAR MORTGAGE LLC




Witness:~            lJun~~
Name: Kerri · einmaster



                                       ACKNOWLEDGEMENT

STATE OF NEBRASKA

COUNTY OF SCOTTS BLUFF


On Feb. 21st, 2014, before me a Notary Public in and for said State, personally appeared
Jennifer Kinsey, known to me to be a Assistant Secretary of Nationstar Mortgage LLC that
executed the within instrument, and also known to me to be the person who executed said
instrument on behalf of such corporation and acknowledged to me that such limited liability
company executed the within instrument.

       IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official seal the
day and year in this certificate first above wri~~


                  NERAl NOTARY-State of Nebraska   Helen Scott
                          HELENSCOn
                    MyComm. Exp. oct.25,2016       NOTARY PUBLIC
                                                   My Commission expires: October 25,2016
   Case 18-32498        Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13            Desc Main
                                    Document     Page 40 of 43




                                             Exhibit A

Trust Agreement dated February 1, 2007 by and between BCAP LLC, as Depositor, Wells Fargo Bank,
       National Association, as Custodian, and Deutsche Bank National Trust Company, as Trustee for
       BCAP LLC Trust 2007-AA1, Mortgage Pass-Through Certificates, Series 2007-AAI

Assignment and Recognition Agreement dated February 27, 2007 by and between Barclays Bank PLC
       ("Barclays"), Sutton Funding LLC (together with Barclays, the Assignors), BCAP LLC, as
       Assignee, Countrywide Home Loans Servicing LP, as Servicer, Countrywide Home Loans, Inc.,
       as Company and Deutsche Bank National Trust Company, as Trustee.



Trust Agreement dated March 1, 2007 by and between BCAP LLC, as Depositor, Wells Fargo Bank,
       National Association, as Custodian, and Deutsche Bank National Trust Company, as Trustee for
       BCAP LLC Trust 2007-AA2, Mortgage Pass-Through Certificates, Series 2007-AA2

Assignment and Recognition Agreement dated March 29,2007 by and between Barclays Bank PLC
       ("Barclays"), Sutton Funding LLC (together with Barclays, the Assignors), BCAP LLC, as
       Assignee, Countrywide Home Loans Servicing LP, as Servicer, Countrywide Home Loans, Inc.,
       as Company and Deutsche Bank National Trust Company, as Trustee.



Trust Agreement dated May 1, 2007 by and between BCAP LLC, as Depositor, Wells Fargo Bank,
       National Association, as Custodian, and Deutsche Bank National Trust Company, as Trustee for
       BCAP LLC Trust 2007-AA3, Mortgage Pass-Through Certificates, Series 2007-AA3

Assignment and Recognition Agreement dated May 31, 2007 by and between Barclays Bank PLC as
       Assignor, BCAP LLC, as Assignee, Countrywide Home Loans Servicing LP, as Servicer,
       Countrywide Home Loans, Inc., as Company and Deutsche Bank National Trust Company, as
       Trustee.



Trust Agreement dated June 1, 2007 by and between BCAP LLC, as Depositor, Wells Fargo Bank,
       National Association, as Custodian, and Deutsche Bank National Trust Company, as Trustee for
       BCAP LLC Trust 2007-AA4, Mortgage Pass-Through Certificates, Series 2007-AA4

Assignment and Recognition Agreement dated June 29, 2007 by and between Barclays Bank PLC as
       Assignor, BCAP LLC, as Assignee, Countrywide Home Loans Servicing LP, as Servicer,
       Countrywide Home Loans, Inc., as Company and Deutsche Bank National Trust Company, as
       Trustee.

Assignment and Recognition Agreement dated June 29, 2007 by and between Sutton Funding LLC, as
       Assignor, BCAP LLC, as Assignee, Countrywide Home Loans Servicing LP, as Servicer,
       Countrywide Home Loans, Inc., as Company and Deutsche Bank National Trust Company, as
       Trustee.


                                                 5
  Case 18-32498       Doc 18    Filed 10/03/18 Entered 10/03/18 14:41:13          Desc Main
                                 Document     Page 41 of 43



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In Re:                                           CHAPTER 7 CASE
                                                 CASE NO. 18-32498
Brian F. Carlisle
Angelique Carlisle                               UNSWORN DECLARATION FOR PROOF
                  Debtors.                       OF SERVICE
___________________________________

        Dianne K. Benson, employed by Wilford, Geske & Cook P.A., attorneys licensed to
practice law in this Court, with office address at 7616 Currell Blvd; Ste 200, Woodbury, MN
55125-2296, declares that on October 3, 2018, I served the annexed Notice of Hearing and
Motion for Relief from Stay, Memorandum in Support of Motion for Relief from Stay, Affidavit
of Nationstar Mortgage LLC d/b/a Mr. Cooper, and proposed Order to each person referenced
below, a copy thereof by enclosing the same in an envelope with first class postage prepaid and
depositing same in the post office at Woodbury, Minnesota addressed to each of them as follows:

Brian F. Carlisle
Angelique Carlisle
6860 Century Ln
Prior Lake, MN 55372-5105

And by certified mail to:

PNC Bank
Attn: CEO William S. Demchak
P.O. Box 1397
Pittsburgh, PA 15230

Internal Revenue Service
Attn: Charles P. Rettig, Commissioner
Centralized Insolvency
P.O. Box 7346
Philadelphia, PA 19101

Internal Revenue Service
Attn: Chrles P. Rettig, Commissioner
1500 Pennsylvania Avenue NW
Washington, D.C. 20220

and delivered by e mail notification under CM/ECF on the day efiled with the Court to each of
them as follows:

Ian Ball
  Case 18-32498       Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13          Desc Main
                                  Document     Page 42 of 43


Patti J. Sullivan

U.S. Trustee

And I declare, under penalty of perjury, that the foregoing is true and correct.

Dated: October 3, 2018

                                               /e/ Dianne K. Benson
                                              Dianne K. Benson
  Case 18-32498        Doc 18     Filed 10/03/18 Entered 10/03/18 14:41:13            Desc Main
                                   Document     Page 43 of 43



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MINNESOTA

In Re:                                              CHAPTER 7 CASE
                                                    CASE NO. 18-32498
Brian F. Carlisle
Angelique Carlisle                                  PRE-DISCHARGE ORDER

                  Debtors.
___________________________________

                         ORDER GRANTING RELIEF FROM STAY

         This case is before the court on the motion of Deutsche Bank National Trust Company, as
Trustee for BCAP Trust LLC 2007-AA1 Mortgage Pass-Through Certificates Series 2007-AA1,
for relief from the automatic stay imposed by 11 U.S.C. § 362(a).

       Based on the record, the court finds that grounds exist under 11 U.S.C. § 362(d) to
warrant relief.

         IT IS ORDERED:

         1. The motion for relief from stay is granted as follows.

         2. he automatic stay imposed by 11 U.S.C. § 362(a) is terminated such that the movant
            may exercise its rights and remedies under applicable nonbankruptcy law with respect
            to the following property:

                Lot 2, Block 3, Century Hills, according to the plat thereof on file and of record in
                the Office of the County Recorder, Scott County, Minnesota
                and commonly known as 6860 Century Ln, Prior Lake, MN 55372-5105

         3. Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this order is effective immediately.


Dated:

                                                                     __________________________
                                                                     United States Bankruptcy Judge
